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‘Case 1:17-cv-03282-JKB Document 53 Fited 02/13/18 Page 1 of CUMENT Recap

UNITED STATES DISTRICT COURT FEB 15 2019
DISTRICT OF MARYLAND
CIVIL DIV.

OFFICE OF THE CLERK
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Reply to Northern Division Address Catherine Stavlas, Chief Deputy
February 13, 2018 ~~ LOgGE ENTERED
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Clerk’s Office MAR 12 2018
Circuit Court for Baltimore City Chen A BAL MOog
Courthouse East DISTRIGY Brace WAGEaT
111 N. Calvert Street, Suite 200 By

Baltimore, MD 21202 DEPUTY
RE: Smith et al v. Westminster Management, LLC et al

Civil Action No, JAB-17-3282
State Court Case No. 24-C-17-004797 OT

‘Dear Clerk:

On February 13, 2018, the Honorable James K. Bredar signed an order remanding the
above-entitled case to your Court. Enclosed is a certified copy of the order, together with a
certified copy of the docket entries, We have discontinued our previous practice of sending the

state court original papers which were filed in this Court. Should you need certified copies of
any papers you may contact the Deputy Clerk below.

Kindly acknowledge receipt of the enclosed on the duplicate copy of this letter.
Thank you for your cooperation in this matter.

Sincerely,

Felicia C. Cannon, Clerk

By: ds/
B. Hilberg, Deputy Clerk

Enclosures

ACKNOWLEDGED RECEIPT THIS _/2 A wary oF Habsuale _ 2018.

Remand Letter to Court (Rev. 9/4/2004)

 

Northern Division * 4228 U.S. Courthouse « 101 W. Lombard Street » Baltimore, Maryland 2] 201+ 410-962-2600
Southern Division + 200 U.S. Courthouse * 6500 Cherrywood Lane * Greenbelt, Maryland 20770 » 301-344-0660

Visit the U.S. District Court’s Website at www.mdd,uscourts.gov
